                  Case 2:13-cv-00193 Document 775-17 Filed on 11/19/14 in TXSD Page 1 of 4
From                           Mastracchio         JoeAnna

To                             Carlisle        Andrea   Spinks   Margaret       Peyton   John   Miller   Connie   Petersen                Dain

CC                             Martinez         Germaine     Hibbs    Rebekah      Famiglietti Christina   Buster Marguerite
Sent                           9102013           124550 PM
Subject                        FW Saturday Opening             for   Election   Certificates

Attachments                    Open County Officesdocx




Attached     are the offices     that   will   be open on Saturdays         for   EICs


Please     forward to anyone       else    that   may need to know


VRJoe
JoeAnna     F Mastracchio
Dep     Asst Director

Driver    License Division

Texas Department of Public Safety



joeannamastracchiodpstexasgov
o 512®424®5415
c 512®550®4784


From Rodriguez Tony
Sent Tuesday        September 10 2013             1149 AM
To Mastracchio JoeAnna
Cc Watkins Paul Bell Stephen
Subject      RE   Saturday Opening for Election          Certificates




See attachment


vr



7    00   lPoaw•aez

Customer Operations Senior Manager                 South    and West

Driver License    Division

Texas     Department of Public     Safety

tony rod riquezc7dpstexasgov
5124245657        0
5127399709        C
5124245233        F

From Mastracchio         JoeAnna

Sent Tuesday        September 10 2013             1002 AM
To Watkins Paul Rodriguez Tony
Cc Bell Stephen
Subject FW Saturday Opening for Election                   Certificates




Do you have       the   13 counties     and     DLOs    identified    yet


VRJae
JoeAnna     F Mastracchio
Dep     Asst Director
                                                                                                  2:13-cv-193
                                                                                                                     exhibitsticker.com




Driver    License Division

Texas Department of Public Safety
                                                                                                  09/02/2014


joeanna mast racchioadpstexas             gov
                                                                                                 DEF1452
o 512®424®5415



                                                                                                                                                 TEX0506441
                        Case 2:13-cv-00193 Document 775-17 Filed on 11/19/14 in TXSD Page 2 of 4
c 5125504784


From Spinks             Margaret
Sent Tuesday               September 10 2013              938 AM
To Mastracchio JoeAnna
Cc Hibbs Rebekah Gipson                        Sheri

Subject            RE   Saturday Opening for Election                Certificates




Joe


I
     just met with         staff   Esther 5124245968                   Cari 5124245372                   and Sara 5124242245                volunteered    to   be here this

Saturday            They are going             to    check with other LRS employees to ensure we have enough volunteers                                     to   work every
Saturday           until   the November              election     One    question we know                     employees   will   ask   is   there a possibility of   OTP      I



                    to staff   there was no mention of OTP                     but would ask to make sure
explained



just for clarification               is   each county       required to have a DL office open                         Just   13 counties must have         all   DL offices
open Can we get a list                    of   the   DL offices that will be open

Thank         You
Margaret Spinks Manager
Driver License             Division

License           and Record       Service

5124247243
margaret spinksdpstexasgov


We are creating a faster easier and friendlier                        driver license         experience and a safer Texas



From Spinks             Margaret
Sent Tuesday               September 10 2013              831 AM
To Mastracchio JoeAnna
Cc Hibbs Rebekah Gipson                        Sheri

Subject            RE   Saturday Opening for Election                Certificates




Joe


I    will   get   56    volunteers        for this     My thoughts are to increase the numbers of volunteers on staff the closer
                                                       Saturday
we get to election             day based on our experience last November      would prefer to have employees here instead of an
                                                                                                          I




on call number for them                   to   have access      to    microfilm        and    DLS

Thank         You
Margaret Spinks Manager
Driver License             Division

License           and Record       Service

5124247243

margaret spinksa dpstexasgov


We are creating a faster easier and friendlier                        driver license         experience and a safer Texas



From Mastracchio               JoeAnna

Sent Monday September 09 2013                            659 PM
To Spinks Margaret Carlisle Andrea
Cc Hibbs Rebekah Martinez Germaine Gipson                                  Sheri

Subject Saturday Opening for Election                       Certificates

Importance              High



Margaret Andrea
It    was    briefed at     todays staff meeting that                 there   is   a   lot   of   political    pressure to have    some limited offices open on




                                                                                                                                                                        TEX0506442
                           Case 2:13-cv-00193 Document 775-17 Filed on 11/19/14 in TXSD Page 3 of 4
Saturdays for                    ICs only           until     the election    is   over     There     will    be 13 counties     that       are required to have           all   DLOs open
    1000 200 which                       is   why John was developing                  a sign that       is   attached        This   will   be required for this           election   and the

one        next    Spring



We just got word this evening that this requirement                                              is   going to start this Saturday



Andrea
Paul has requested                      that       we have folk available            that   can deal with the          DLS which means ITS folk                       He will    also discuss

with       Dan tomorrow about                        having      IT   Help   Desk support


Margaret
We are not sure how this will                               impact your folk but Paul requested                    we have a couple           people      available       for at least the

first      couple        Saturdays            to    ensure       there   are no     issues    Maybe           after that   we provide an on call number to call for
emergencies                    Thoughts




Vk Jae
JoeAnna           F Mastracchio
Dep           Asst Director

Driver         License Division

    Texas Department of Public Safety



ioeannamast racchioadpstexas                                  gov
o 512®424®5415
c 512®550®4784


From Peyton                    John

Sent Monday September 09 2013                                        643 PM
To Watkins                Paul         Mastracchio            JoeAnna     Rodriguez       Tony   Bell        Stephen       Peters Joe Famiglietti Christina Buster

Marguerite

Subject            EIC     signage        first     draft



Hi      all




Attached           it   the    rough draft of the EIC door and outdoor signage for the                                      DL offices       in   the   13 counties



I   will      finish    this   first    thing      in   the   morning with Spanish included                   and correct google            QR code        I   will   then forward to

reprographics for final draft for your review                                      and approval



Paul mentioned               we can send the sign files to the DL offices via email with printing and installationdisplay instructions
and that the              DL offices can have their signage made at their local print shops FedEx office Office Max etc


Joe M recommended                             the offices           order the smaller outdoor coroplast                real   estate    signage for easy display and
removal


Please           review



John




John Peyton

    Texas Department of Public Safety

Policy and             Business ImprovementDLD

5124245493                 direct

5125691766                 mobile
iohnpeytongdpstexasgov




                                                                                                                                                                                         TEX0506443
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                                                                                       TEX0506444
